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                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF COLORADO

 In re:

 DNC and TCPA LIST SANITIZER, LLC,                   Case No. 24-12624 KHT

      Debtor.                                        Chapter 11


 DNC and TCPA LIST SANITIZER, LLC
 and MICHAEL O’HARE,                                 Adversary No. 25-01124 KHT

      Plaintiffs,

 v.

 RINGBA, LLC and ADAM YOUNG,

      Defendant.


       ORDER DENYING REQUEST FOR TEMPORARY RESTRAINING ORDER

       THIS MATTER comes before the Court on the Motion of DNC and TCPA List
Sanitizer, LLC and Michael O’Hare for a Temporary Restraining Order and for Declaratory
and Injunctive Relief (the “Motion,” docket #3), filed by the Plaintiffs, Debtor DNC and
TCPA List Sanitizer, LLC, and its principal, Michael O’Hare (together, the “Plaintiffs”).
The Motion requests a temporary restraining order (“TRO”) and other relief.

      TROs are governed by Fed. R. Civ. P. 65(b), incorporated in adversary
proceedings by Fed. R. Bankr. P. 7065. Rule 65(b) provides, in relevant part, as follows:

          (1)   Issuing Without Notice. The court may issue a temporary restraining
                order without written or oral notice to the adverse party or its attorney
                only if:

                (A)    specific facts in an affidavit or a verified complaint clearly
                       show that immediate and irreparable injury, loss, or damage
                       will result to the movant before the adverse party can be heard
                       in opposition; and

                (B)    the movant’s attorney certifies in writing any efforts made to
                       give notice and the reasons why it should not be required.

          (2)   Contents; Expiration. Every temporary restraining order issued
                without notice must state the date and hour it was issued; describe
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              the injury and state why it is irreparable; state why the order was
              issued without notice; and be promptly filed in the clerk's office and
              entered in the record. The order expires at the time after entry—not
              to exceed 14 days—that the court sets, unless before that time the
              court, for good cause, extends it for a like period or the adverse party
              consents to a longer extension. The reasons for an extension must
              be entered in the record.

       (3)    Expediting the Preliminary-Injunction Hearing. If the order is issued
              without notice, the motion for a preliminary injunction must be set for
              hearing at the earliest possible time, taking precedence over all other
              matters except hearings on older matters of the same character. At
              the hearing, the party who obtained the order must proceed with the
              motion; if the party does not, the court must dissolve the order.

Fed. R. Civ. P. 65(b). Here, Plaintiffs have not complied with the requirements to obtain
a TRO. Specifically, their complaint is not verified, and they have not provided an affidavit.
They have not set forth specific facts clearly showing an immediate and irreparable injury,
loss, or damage will result before the adverse party can be heard in opposition. Their
attorneys have not certified in writing any efforts made to give notice and the reasons why
it should not be required. The Court will therefore deny the request for TRO.

       Accordingly, it is

     HEREBY ORDERED that the Motion is DENIED IN PART, to the extent it requests
a TRO.

 Dated April 14, 2025                             BY THE COURT:


                                                  _________________________
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                                                   _ ___
                                                       __ ___________
                                                       ____          _ _______
                                                  Kimberley H
                                                            H. Tyson
                                                  United States Bankruptcy Judge




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